                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

       Plaintiff,

       v.
JASON BUI,
KHANE SISONGKHAM                                                     Case No. 09-Cr-91
 a/k/a TOO SHORT,
OSCAR RODRIGUEZ, JR.,
ALBERTO E. RODRIGUEZ and
DEREK L. WEAVER,

       Defendants.


                  MAGISTRATE JUDGE'S RECOMMENDATION TO THE
                        HONORABLE CHARLES N. CLEVERT
           RE: DEFENDANT SISONGKHAM’S MOTION TO SUPPRESS EVIDENCE


                                            NATURE OF CASE

       On April 7, 2009, a federal grand jury sitting in this district returned a two-count

indictment against the above-named defendants. On May 5, 2009, it returned a four-count

superseding indictment against the defendants. Count One of the superseding indictment

charges all of the defendants with conspiracy to possess with intent to distribute and distribute

a controlled substance containing marijuana, a Schedule 1 controlled substance, in violation

of 21 U.S.C. §§ 841(b)(1)(B) and 846. Count Two charges all of the defendants, with the

exception of defendant Derek Weaver, with possessing with intent to distribute a mixture and

substance containing marijuana, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(D) “and

Pinkerton v. United States, 328 U.S. 640 (1976)” (sic).1 Defendant Alberto E. Rodriguez is


       1
           This case actually was decided in 1946.




    Case 2:09-cr-00091-PP             Filed 05/27/09   Page 1 of 9     Document 60
charged in Count Three with possession with intent to distribute a mixture and substance

containing marijuana and he is charged in Count Four with possession with intent to distribute

a mixture and substance containing cocaine.

       Pursuant to the defendant’s request for an extension of time to file pretrial motions, on

May 8, 2009, defendant Khane Sisongkham filed a motion to suppress evidence on the ground

that the warrant application fails to establish probable cause. (Docket #41). This motion will

be addressed herein.

                                  MOTION TO SUPPRESS

       In moving to suppress evidence, defendant Sisongkham asserts that the affidavit in

support of the search warrant fails to establish probable cause to believe that contraband

would be found on January 22, 2009, during the search of the residence at 6401 N. 40th

Street, Milwaukee, Wisconsin. The defendant seeks suppression of the evidence seized

during the search, as well as suppression of his statement given the following day while in

police custody.

       Specifically, defendant Sisongkham contends that the affidavit in support of the warrant

fails to establish the reliability of the confidential informant and the informant’s basis of

knowledge that the defendant Sisongkham was in possession of a large quantity of marijuana

at the residence within the seven days prior to the issuance of the warrant. In addition,

defendant Sisongkham asserts that there was no probable cause to believe that marijuana

would still be at the residence at the time of the search and, given the dearth of information

in the affidavit, the good faith exception articulated by the Supreme Court in United States v.

Leon, 468 U.S. 897, 924 (1984) does not apply.



                                             -2-


    Case 2:09-cr-00091-PP       Filed 05/27/09     Page 2 of 9    Document 60
       The government opposes the motion. The government acknowledges that the affidavit

is not very detailed and does not contain information about whether the informant acquired

knowledge about the marijuana through personal observation. Nonetheless, the government

maintains that the warrant is supported by probable cause because the police corroborated

information about defendant Sisongkham’s membership in a street gang and conducted a

garbage search on the day before the issuance of the warrant which resulted in the recovery

of 18 grams of marijuana from 24 cellophane wrappers.

                                          ANALYSIS

       Probable cause sufficient to support a search warrant exists where “the known facts

and circumstances are sufficient to warrant a person of reasonable prudence in the belief that

contraband or evidence of a crime will be found.” Ornelas v. United States, 517 U.S. 690, 696

(1996). When those “known facts and circumstances” used to support a finding of probable

cause are derived from a confidential informant, the legitimacy of a probable cause

determination turns on the confidential informant’s ”reliability, veracity and basis of

knowledge.” United States v. Olson, 408 F.3d 366, 370 (7th Cir. 2005) (quoting United States

v. Johnson, 289 F.3d 1034, 1038 [7th Cir. 2002]).

       To assess the credibility of an informant, the court should consider: 1) the extent to

which the police corroborated the informant’s statements; 2) the degree to which the informant

acquired knowledge of the events through first-hand observation; 3) the amount of detail

provided; and 4) the interval between the date of the events and the police officer’s application

for the warrant. United States v. Sims, 551 F.3d 640, 644 (7th Cir. 2008) (citing United States

v. Jones, 208 F.3d 603, 609 [7th Cir. 2000]); United States v. Koerth, 312 F.3d 862, 866 (7th

Cir. 2002); see also, Olson, 408 F.3d at 370; Johnson, 289 F.3d at 1038-39. In addition, the

                                              -3-


    Case 2:09-cr-00091-PP        Filed 05/27/09     Page 3 of 9    Document 60
court should “consider whether the informant personally appeared and presented an affidavit

or testified before the magistrate, thus allowing the judge to evaluate the informant’s

knowledge, demeanor or sincerity.” Sims, 551 F.3d at 644 (citing United States v. Lloyd, 71

F.3d 1256, 1263 [7th Cir 1995]); Olson, 408 F.3d at 370. No single factor is determinative.

Rather, “a deficiency in one factor may be compensated for by a strong showing in another

or by some other indication of reliability.” United States v. Peck, 317 F.3d 754, 756 (7th Cir.

2003) (quoting United States v. Brack, 188 F.3d 748, 756 [7th Cir. 1999]).

       In determining whether probable cause exists to support a search warrant, the judge

must consider the totality of the circumstances. United States v. Brack, 188 F.3d 748, 755

(7th Cir. 1999) (citing Illinois v. Gates, 462 U.S. 213, 238 [1983]). “The task of the issuing

magistrate is simply to make a practical common-sense decision whether, given all the

circumstances set forth in the affidavit before him, including the ‘veracity’ and ‘basis of

knowledge’ of persons supplying hearsay information, there is a fair probability that contraband

or evidence of a crime will be found in a particular place.” United States v. Newsom, 402 F.3d

780, 782 (7th Cir. 2005) (quoting Illinois v. Gates, 462 U.S. 213, 238 [1983]).

       “Probable cause is established when, based on the totality of the circumstances, the

affidavit sets forth sufficient evidence to induce a reasonably prudent person to believe that

a search will uncover evidence of a crime.” Peck, 317 F.3d at 756. “Probable cause denotes

more than mere suspicion, but does not require certainty.” United States. v. McNeese, 901

F.2d 585, 592 (7th Cir. 1990) (quoting United States v. Ellery, 678 F.2d 674, 677 [7th Cir.

1982]).

       “Probable cause does not require direct evidence linking a crime to a particular place.

Instead, issuing judges are entitled to draw reasonable inferences about where evidence is

                                             -4-


    Case 2:09-cr-00091-PP       Filed 05/27/09     Page 4 of 9    Document 60
likely to be found given the nature of the evidence and the type of offense.” United States v.

Anderson, 450 F.3d 294, 303 (7th Cir. 2006) (internal quotation marks and citations omitted).

Thus, a judge making a probable cause determination need not determine that the evidence

sought is in fact on the premises to be searched or that the evidence is more likely than not

to be found where the search occurs. Rather, the magistrate judge “need only conclude that

it would be reasonable to seek the evidence in the place indicated in the affidavit." United

States v. Curry, 538 F.3d 718, 729 (7th Cir. 2008) (quoting United States v. Sleet, 54 F.3d 303,

306 [7th Cir. 1995]).

       It is well established that a facially valid warrant issued by a neutral, detached

magistrate judge will be upheld if the police relied on the warrant in good faith. The decision

to seek a search warrant is prima facie evidence that an officer was acting in good faith.

United States v. Wiley, 475 F.3d 908, 917 (7th Cir. 2007) (citing United States v. Koerth, 312

F.3d 862, 866 [7th Cir. 2002]); Peck, 317 F.3d at 757. “The defendant must defeat this

presumption with evidence that the issuing magistrate judge wholly abandoned his judicial role

or that the officer’s affidavit was so lacking in indicia of probable cause as to render official

belief in its existence entirely unreasonable.” Wiley, 475 F.3d at 917.

       In this case, City of Milwaukee Police Officer Juan Duran applied for a no-knock warrant

to search defendant Sisongkham’s residence at 6401 N. 40th Street for marijuana, drug-

related paraphernalia, records and other items. In the affidavit, Officer Duran avers that a

confidential informant, who wanted to remain anonymous, advised him that defendant

Sisongkham resided at 6401 N. 40th Street and that within the prior seven days, the defendant

was in possession of a large quantity of marijuana at that residence. The informant further

advised that defendant Sisongkham was a member of an Asian street gang known as the

                                              -5-


    Case 2:09-cr-00091-PP        Filed 05/27/09     Page 5 of 9    Document 60
Young and Dangerous and that the defendant was known to possess firearms. The informant

identified defendant Sisongkham from a photo array as the person residing at 6401 N. 40th

Street.

          As to the informant’s reliability, Officer Duran averred that the informant had given him

information in the past which corroborated information received from other confidential

informants and police reports and which has resulted in the arrest of several defendants

wanted on felony warrants. Office Duran stated that although the informant has prior criminal

convictions, the informant was not currently charged with any criminal offense in Milwaukee

County.

          Officer Duran further averred that a garbage search was conducted on trash obtained

from defendant Sisongkham’s residence on January 21, 2009, by City of Milwaukee Sanitation

Department workers under the direction of the affiant. During a search of that garbage, 24

clear plastic cellophane wraps containing 18 grams of a green plant-like substance residue,

which subsequently tested positive for THC, was discovered inside a black 30 gallon garbage

bag.

          Although the affidavit does not indicate whether the informant obtained his information

about defendant Sisongkham from first-hand observation, that factor alone is not

determinative. See Peck, 317 F.3d at 756. Here, law enforcement officers were able to

corroborate the informant’s information about the defendant’s membership in a specific Asian

street gang through a review of police records and the informant’s identification of the

defendant’s residence through records obtained during the garbage search of the residence.

The informant told Officer Duran that the defendant possessed drugs at his residence and this



                                                -6-


       Case 2:09-cr-00091-PP       Filed 05/27/09     Page 6 of 9    Document 60
information was clearly supported by the discovery of 24 bags containing marijuana residue

found in the defendant’s garbage a day before the search warrant was executed.

       There is no dispute that more detailed information about the informant’s basis of

knowledge would have provided stronger support for issuance of the search warrant. The

defendant maintains that it was not reasonable to conclude that marijuana would be found in

the residence because the discarded packing materials found in the garbage search supports

the reasonable inference that marijuana was no longer in the residence. Contrary to the

defendant’s contention, this is not the only reasonable conclusion. There is no indication of

the amount of marijuana the defendant had at his residence within the seven days prior to the

search warrant execution. Based on the information presented to the issuing state court

commissioner, it was reasonable to conclude that some marijuana would still be in the

residence. A judicial officer need not determine that the evidence is in fact in the place to be

searched, but must only conclude that it would be reasonable to seek the evidence at the

location of the search. Sleet, 54 F.3d at 306.

       Considering the totality of the circumstances, including the information from the

confidential informant, along with the marijuana and marijuana packaging material found

during the garbage search of the defendant’s residence, the court commissioner had a

substantial basis for concluding that the search would uncover evidence of wrongdoing. See

Gates, 462 U.S. at 236 (quoting Jones v. United States, 362 U.S. 257, 271 [1960]). Given the

court’s conclusion, it need not address defendant Sisongkham’s contention that the

interrogation of him is subject to suppression as “fruit of the poisonous tree.” Wong Sun v.

United States, 371 U.S. 471, 487 (1963).



                                             -7-


    Case 2:09-cr-00091-PP       Filed 05/27/09     Page 7 of 9    Document 60
       Moreover, even if the court was to conclude that the affidavit did not establish probable

cause that evidence of a crime would be found at the residence, suppression of the evidence

is not warranted. In Leon, 468 U.S. at 926, the Supreme Court held that an officer’s good faith

reliance on a court’s determination of probable cause should not lead to the exclusion of

probative evidence simply because a reviewing court later determined that probable cause

was lacking. Thus, a facially valid warrant issued by a neutral, detached magistrate will be

upheld if the police relied on the warrant in good faith. Id.      The Court explained: “In the

absence of an allegation that the magistrate abandoned his detached and neutral role,

suppression is appropriate only if the officers were reckless or dishonest in preparing their

affidavit or could not have harbored an objectively reasonable belief in the existence of

probable cause.” Id.

       Defendant Sisongkham contends that Officer Duran, who had worked in law

enforcement for the past 15 years, could not reasonably conclude that the search warrant was

supported by probable cause. As noted, Officer Duran’s decision to obtain a search warrant

is prima facie evidence that he was acting in good faith. Moreover, the court cannot conclude

that his “affidavit was so lacking in indicia of probable cause as to render belief in its existence

entirely unreasonable.” Wiley, 475 F.3d at 917. Therefore, the court concludes that defendant

Sisongkham has failed to rebut the presumption that Officer Duran was acting in good faith

when he applied for the search warrant.

       In sum, for the reasons stated herein, the court will recommend to United States District

Judge Charles N. Clevert that defendant Sisongkham’s motion to suppress evidence be

denied. (Docket # 41).



                                               -8-


    Case 2:09-cr-00091-PP         Filed 05/27/09     Page 8 of 9     Document 60
                                         CONCLUSION

       NOW, THEREFORE, IT IS HEREBY RECOMMENDED that the United States district

judge enter an order denying defendant Khane Sisongkham's motion to suppress evidence

warrant application fails to establish probable cause. (Docket #41).

       Your attention is directed to 28 U.S.C. § 636(b)(1)(A) and General Local Rule 72.3 (E.D.

Wis.), whereby written objections to any recommendation herein or part thereof may be filed

within ten days of service of this order. Objections are to be filed in accordance with the

Eastern District of Wisconsin's electronic case filing procedures. Courtesy paper copies of any

objections shall be sent directly to the chambers of the district judge assigned to the case.

Failure to file a timely objection with the district court shall result in a waiver of your right to

appeal.

       Dated at Milwaukee, Wisconsin this 27th day of May, 2009.

                                                           BY THE COURT:

                                                               s/ Patricia J. Gorence
                                                           PATRICIA J. GORENCE
                                                           United States Magistrate Judge




                                               -9-


    Case 2:09-cr-00091-PP         Filed 05/27/09     Page 9 of 9     Document 60
